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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )
                                                     )       Criminal No. 20-cr-10164-NMG
1. TIMOTHY TORIGIAN,                                 )
3. ROBERT TWITCHELL,                                 )
4. HENRY DOHERTY,                                    )
9. KENDRA CONWAY.                                    )
                                                     )
                      Defendants.                    )
                                                     )

                MEMORANDUM PURSUANT TO LOCAL RULE 116.5(c)

       Counsel for the United States and the defendants, (hereinafter “the parties”), submit this

memorandum addressing Local Rule 116.5(c).

I.     Local Rule 116.5(c)(1)

       Gerard O’Brien (2), Diana Lopez (5), James Carnes (6), and Michael Murphy (7), have

pled guilty in this action. Charges against Ronald Nelson (8) were dismissed upon his death.

The government will apprise the Court if and when any additional Rule 11 hearing becomes

appropriate.

II.    Local Rule 116.5(c)(2)

       The parties request that the matter be referred to the District Court for the scheduling of a

trial date and for hearing on any motions.

III.   Local Rule 116.5(c)(2)(A)

       On October 5, 2020, the government provided initial disclosures to the defense. On

December 15, 2020, January 20, 2021, January 26, 2021, February 11, 2021, May 5, 2021, May

6, 2021, July 1, 2021, July 26, 2021, September 13, 2021, and December 17, 2021, the

government provided supplemental discovery materials.


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         Discovery is substantially complete. Due to the ongoing nature of the investigation, the

government may have additional discovery to be provided to the defendants, including witness

statements and materials required to be produced for such witnesses pursuant to Local Rule

116.2.

         Materials required to be disclosed under Local Rule 116.2(b)(2) will be disclosed in

accordance with the times established by that Rule or as otherwise directed by the Court.

IV.      Local Rule 116.5(c)(2)(B)

         To date, the parties have resolved discovery issues informally. No discovery letters have

been served and no motions are pending. At the last conference, the Court established a schedule

for the filing of discovery motions. No motions have yet been filed.

V.       Local Rule 116.5(c)(2)(C)

         The parties request that the Court establish a deadline for the filing of Rule 12 motions

and refer the matter for disposition of any such motions.

VI.      Local Rule 116.5(c)(2)(D)

         The defendants were arrested on September 2, 2020 and made their initial appearances on

that date. The parties have assented to the exclusion of time and the Court has ordered the time

from September 2, 2020 through September 27, 2022 to be excluded. [D. 75, 79, 86, 91, 118,

121, 144, 167, 200, 226, 239].

         The parties agree that the time period between September 27, 2022 and the next status

conference (whether before this session or the District Court) should be excluded because the

parties have been and are using the period of the continuance to complete production and review

of discovery, to determine what pre-trial motions may need to be filed and litigated, to determine

motions that may need to be filed with the District Court, and also to explore a non-trial

disposition of the case. Therefore, the parties request that this Court find that the ends of justice

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served by excluding the period of this continuance outweigh the best interest of the public and

the defendant in a speedy trial, pursuant to 18 U.S.C. § 3161(h)(7)(A).

        The parties agree that no countable days have elapsed.

VII.    Local Rule 116.5(c)(2)(D)

        The government would anticipate a two-week trial of all remaining defendants.

VIII. Local Rule 116.5(c)(3)

        N/A.

        The parties request referral of this matter to the District Court for the scheduling of a trial

date.

                                               Respectfully submitted,
                                               RACHAEL S. ROLLINS
                                               UNITED STATES ATTORNEY
                                               By:    /s/ Mark J. Grady
                                               Mark J. Grady
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Mark J. Grady
                                              Mark J. Grady
                                              Assistant U.S. Attorney
Date: September 26, 2022




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